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                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                  EASTERN DISTRICT OF CALIFORNIA

                                          OFFICE OF THE CLERK
                                               501 "I" Street
                                           Sacramento, CA 95814


MICHAEL ANTHONY,                                          USDC No.:        2:02−CV−00081−FCD−JFM
         Plaintiff                                        USCA No.:        06−15316

      v.                                                  HEARING DATES:

GAIL LEWIS,
         Defendant




                                        CERTIFICATE OF RECORD

    You are hereby notified that the record on appeal in the above entitled case, consisting of
the trial transcript (if any) and the trial court clerk's record, is ready for the purpose of the
appeal. This record is currently available in the office of the U.S. District Court Clerk. It will be
transmitted to the Ninth Circuit upon the direction of the Clerk of the Court of Appeals.


    The documents comprising the trial court clerk's record have been numbered in
conformance with Rule 11(b) of the Federal Rules of Appellate Procedure.




  November 6, 2007

                                             VICTORIA C. MINOR
                                             CLERK OF COURT

                                          by: /s/ R. Matson

                                             Deputy Clerk

CC:        All Counsel
           Court Reporters
